


  It is ordered by the court that the entry of February 10, 1937, herein (ante, 220) be, and the same hereby is vacated and set aside, and the following is • ordered substituted therefor:
 

  This cause came on to be heard upon the petition of the relator and the answer of the respondent, the city of Parma, and it being admitted in open court by counsel for the respondent, the city of Parma, that the following facts in the petition are true, to wit:
 

  That the relator herein is the owner and holder in due course for value of the bonds set forth in relator’s petition and that pursuant to and in full compliance with the Constitution and general laws of the state of Ohio, the two series of bonds set forth in plaintiff’s petition were duly and legally authorized and caused to be issued, and further that the form of the bonds is properly described in said relator’s petition; and further that the installments of interest accrued and the principal amounts of the bonds described in plaintiff’s petition are due ap.d unpaid.
 

  It is therefore now hereby ordered and adjudged that the writ of mandamus prayed for by the relator be, and the same hereby is, allowed. And the respondents, the city of Parma, the Mayor, the Auditor and
   
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  the Treasurer of the city, its Council and members thereof, respectively, are commanded to forthwith apply any and all moneys on hand in .the city treasury and any and all moneys on hand in the sinking fund which are applicable to the bonds described in paragraph “F” of the petition to the payment of interest accrued to date of payment and the balance remaining after such payment of accrued interest as a
  
   pro rata
  
  payment on the principal amount due and unpaid on such bonds; the city Treasurer is commanded to determine the amount of the tax necessary to provide for the payment in full of any balance of principal amount or interest on such bonds remaining unpaid, to certify the amount of such tax to the city Council thereof; and the city Council and members thereof, and the Mayor, are commanded to amend the tax budget of the city of Parma for the year 1936 so as to include the full amount required to pay the interest charges and principal charges on the bonds described in paragraph “F” of the petition irrespective of the 10-mill limitation, and subject only to the 15-mill limitation applicable at the time of issuance of such bonds; the county Auditor is commanded to lay such budget, as amended, before the Budget Commission of Cuyahoga county; and the Budget Comniission and the members thereof are commanded to ascertain that the levies for such debt charges are properly authorized and provided for and to approve such levies irrespective of the 10-mill limitation, and subject only to the 15-mill limitation applicable at the time of issuance of such bonds, without modification; the said county Auditor and the county Treasurer of Cuyahoga county are further commanded to certify and collect such taxes and apply the proceeds' thereof to the payment of said debt charges in the current year according to law; and each and all of said respondents and their successors in office are hereby commanded to do and perform, and cause to be done and performed, all other acts re
   
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  quired of them by law in the premises to provide the money with which to pay said bonds and the interest thereon.
 

  Upon motion of counsel for the respondent, the city of Parma, said motion including a statement and representation in open court by said counsel for the respondent, the city of Parma, that a refunding program is definitely in progress and negotiations under way with the bondholders of the city of Parma, and upon agreement by counsel for the relator, it is further ordered that the issuance of writs of mandamus be withheld for the period of ninety (90) days from this date.
 


   Writs allowed.
  

